       Case 1:14-cv-00673-WBH Document 48 Filed 11/19/14 Page 1 of 11




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA

DAVIS M. ETKIN,

        Plaintiff,                                   Civil Action File No.
v.                                                   1:14-CV-00673-WBH

KENNETH L. HILL, M.D.; STEVEN J.
SCHWARTZ, M.D.; JINUEP. KAMDAR,
M.D.; WELLSTAR; MICHAEL K. RAY,
JR., M.D.; JOSEPH T. HORNES, M.D.;
and KENNESTONE HOSPITAL, INC.,

       Defendants.
                         STIPULATION OF VOLUNTARY
                     DISMISSAL OF ACTION Wlm PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), Pro Se Plaintiff Davis M. Etkin, on

his own behalf, and Defendants Kenneth L. Hill, M.D., Steven J. Schwartz, M.D.,

Jinu P. Kamdar, M.D. (improperly identified as Jinue P. Kamdar), Wellstar

Medical Group, LLC (improperly identified as Wellstar and Kennestone Hospital,

Inc.), Michael K. Ray, Jr., M.D., and Joseph T. Honnes, M.D. (improperly

identified as Joseph T. Homes, M.D.), by their undersigned counsel, (together, the

"Parties") stipulate as follows:
                                                                           -   ""-,,   -. -       ...


     1. On March 7, 2014, this action was filed in the United States Ots-ta;;~                              .
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       for the Northern District of Georgia, Atlanta Division.   IrteIfd as.dt6A1i8~rssant to
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   Case 1:14-cv-00673-WBH Document 48 Filed 11/19/14 Page 2 of 11




2. Each Defendant timely filed 	an Answer to Plaintiff s Complaint, raising

   various defenses.

3. The Parties mutually desire to 	resolve this action and the issues raised

   without further delay or additional litigation, and have fully consented to the

   making and entry of this Stipulation of Voluntary Dismissal of Action with

   Prejudice ("Stipulation") without trial or the adjudication of any issue of fact

   or law in this case.

4. 	 The Parties acknowledge they have consented to entry of the Stipulation

   after full and proper due diligence and consideration of all matters relevant

   hereto.

5. 	 Specifically, the Parties recognize that this matter is being dismissed with

   prejudice - i.e., it is a final disposition of the matter, barring the right to

   bring another action on the same claim or cause in any court of law, whether

   federal or state.

6. 	 The Parties stipulate and agree that each party will bear their own costs and

   fees, and that no party will seek reimbursement of any incurred cost or fee

   related to this matter, including attorneys' fees, from any other party to this

   action via litigation or otherwise.

   This 17 th day of November, 2014.

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      Case 1:14-cv-00673-WBH Document 48 Filed 11/19/14 Page 3 of 11




                                   PLAINTIFF

                                   /s/ Davis M. Etkin
                                   (electronically signed and filed with express
                                   pennission by Jesse Broocker)
                                   Davis M. Etkin, Pro Se Plaintiff
                                   1567 Wendell Avenue
                                   Schenectady, New York 12308
                                   (518) 588-0530
                                   daveetkin@ao1.com

                                   WEATHINGTON SMITH

                                   /s/ Jesse K. Brooclcer
                                   Paul E. Weathington
                                   Georgia Bar No. 743120
                                   Jesse K. Broocker
                                   Georgia Bar No. 211070

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Fax: 404-524-1610
                                   ALLEN, McCAIN & O'MAHONY, P.C.

                                   /s/ Gary R. McCain
                                   Gary R. McCain
                                   Georgia Bar No. 002270
                                   Joscelyn M. Hughes
                                   Georgia Bar No. 28 1699

Two Midtown Plaza, Suite 1700      Attorneys for Defendant
1349 West Peachtree Street, N.W.   Kenneth L. Hill. M.D.
Atlanta, GA 30309
Phone: 404-874-1700
Fax: 404-874-1787

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      Case 1:14-cv-00673-WBH Document 48 Filed 11/19/14 Page 4 of 11




                                 HALL BOOTH SMITH, PC

                                 lsi Nichole L. Hair
                                 John E. Hall, Jr.
                                 Georgia Bar No. 319090
                                 Nichole L. Hair
                                 Georgia Bar No. 474182

191 Peachtree Street, NE         Attorneys for Defendants Wellstar Medical
Suite 2900                       Group, LLC, (improperly identified as
Atlanta, GA 30303                Weilstar, Kennestone Hospital, Inc.), and
Phone: 404-954-5000              Jinu P. Kamdar, M.D.
Fax: 404-954-5020

                                 PETERS & MONYAK, LLP

                                 lsi Austin T. Ellis
                                 Robert P. Monyak, Esq.
                                 Georgia Bar No. 517675
                                 Austin T. Ellis, Esq.
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Atlanta, Georgia 30326
Telephone: (404) 607-0100
Fax: (404) 607-0465




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      Case 1:14-cv-00673-WBH Document 48 Filed 11/19/14 Page 5 of 11




                          CERTIFICATE OF SERVICE

      This will certify that the undersigned has this day served a true and correct

copy of the foregoing STIPULATION OF VOLUNTARY DISMISSAL OF

ACTION WITH PREJUDICE, has been served via CMlECF electronic filing on

all counsel ofrecord in this case and to Plaintiff via u.s. Mail to:

                                    Davis Etkin 

                               1567 Wendell Avenue 

                           Schenectady, New York 12308 


      This 18 th day ofNovember, 2014

                                         lsi Jesse K. Broocker
                                        Jesse K. Broocker
                                        Georgia Bar No. 211070




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      Case 1:14-cv-00673-WBH Document 48 Filed 11/19/14 Page 6 of 11




                               FONT CERTIFICATION

     The undersigned counsel for Defendants hereby certifies that the foregoing

document was prepared using Times New Roman 14-point font in accordance with

LR S.l(C).


                                    /sl Jesse K. Broocker
                                    Jesse K. Broocker
                                    Georgia Bar No. 211070




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